          USCA Case #23-5154       Document #2010835
                               UNITED STATES COURT OF Filed:
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                                DISTRICT OF COLUMBIA CIRCUIT
                                              333 Constitution Avenue, NW
                                               Washington, DC 20001-2866
                                      Phone: 202-216-7000 | Facsimile: 202-219-8530



 Case Caption: In re Attorney General Merrick Garland

                                           v.                               Case No: 23-5154



                                            ENTRY OF APPEARANCE

The Clerk shall enter my appearance as            Retained       Pro Bono     Appointed (CJA/FPD)          Gov't counsel
for the     Appellant(s)/Petitioner(s)      Appellee(s)/Respondent(s)         Intervenor(s)     Amicus Curiae below:

                                                   Party Information
                 (List each represented party individually - Use an additional blank sheet as necessary)

 Peter P. Strzok




                                                  Counsel Information
Lead Counsel: Christopher R. MacColl

                                                                      Email: cmaccoll@zuckerman.com
Direct Phone: ( 202 )      778-1849      Fax: (      )       -

2nd Counsel:

                               -                             -       Email:
Direct Phone: (        )                 Fax: (      )
3rd Counsel:

                               -                             -       Email:
Direct Phone: (        )                 Fax: (      )
Firm Name:       Zuckerman Spaeder LLP

Firm Address: 1800 M St Washington, DC 20002

                                                                     Email: cmaccoll@zuckerman.com
Firm Phone: ( 202 )        778-1800      Fax: ( 202 )    822-8106

Notes: This form must be submitted by a member of the Bar of the U.S. Court of Appeals for the D.C. Circuit.
Names of non-member attorneys listed above will not be entered on the court's docket. Applications for
admission are available on the court's web site at http://www.cadc.uscourts.gov/.

USCA Form 44
March 2017 (REVISED)
